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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                   *
                                *
    v.                          *      CRIM. NO. 19-525 (KM)
                                *
WILLIAM GREEN                   *
                                *
                              *****
 ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
              FOR FELONY PLEAS AND/OR SENTENCINGS

        In accordance with Standing Order 2020-06 as amended, this Court finds:

  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

  ✔      That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:


SEE ATTACHMENT A.



Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                  The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                  Other:




                                                                    /s/ Kevin McNulty
Date:             April 5, 2021
                                                                   Honorable Kevin McNulty
                                                                   United States District Judge
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                                Attachment A
       The Court finds that the plea hearing to be held today cannot be
further delayed without serious harm to the interests of justice for the
following reasons:
      1. To ensure that the Court is not overwhelmed by cases and proceedings
         at the conclusion of this period of emergency. Currently, District
         Judges in New Jersey handle a substantially larger docket of cases
         than Judges in other Districts in the United States. New criminal
         cases continue to be assigned by the Court during the emergency. If
         the Court cannot resolve matters by guilty plea and sentencing, the
         resulting backlog will overwhelm the Court’s ability to effectively
         function. The concern of such congestion and the particular harm
         that likely will be caused by delays in the processing of cases and
         matters in the future is particularly acute in this emergency, at least
         given that: (1) it is unknown when this emergency will subside and
         when the Court will be able to function at normal capacity (including,
         among other things, the empanelment of trial juries) and (2) this
         District’s pre-existing shortage of District Court Judges has already
         challenged the Court’s ability to process and resolve cases. This
         District has six District Judge vacancies: two have been pending for
         more than five years; one has been pending almost three years; two
         have been pending for more than a year; and one has been pending
         almost one year. The Federal Judicial Conference has deemed the
         District’s six vacancies judicial emergencies.
      2. To permit the Defendant to obtain a speedy resolution of his case
         through an admission of guilt and timely sentencing, which will afford
         appropriate punishment and rehabilitation. The Defendant has asked
         for this case to be resolved today by guilty plea.
      3. To permit the Government to obtain a resolution of the case so that
         the Government, already operating in a restricted capacity due to the
         emergency, may appropriately focus its resources on other emerging
         criminal matters. The Government has asked for this case to be
         resolved today by guilty plea.
